






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00287-CR






Juan Castillo Perez, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT

NO. D-1-DC-08-204984, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Juan Castillo Perez seeks to appeal from a judgment of conviction for driving
while&nbsp;intoxicated.  See Tex. Penal Code Ann. § 49.04 (West 2003).  Sentence was imposed on
April&nbsp;1, 2009.  There was no timely motion for new trial.  The deadline for perfecting appeal was
therefore May 1, 2009.  See Tex. R. App. P. 26.2(a)(1), (2).  Notice of appeal was filed on May 13,
2009.  No extension of time for filing notice of appeal was requested.  See Tex. R. App. P. 26.3. 
There is no indication that notice of appeal was properly mailed to the district clerk within
the&nbsp;time&nbsp;prescribed by rule 26.2(a).  See Tex. R. App. P. 9.2(b).  Under the circumstances, we
lack&nbsp;jurisdiction to dispose of this cause in any manner other than by dismissing it for want
of&nbsp;jurisdiction.  See Slaton v. State, 981 S.W.2d 208 (Tex. Crim. App. 1998); Olivo v. State,
918&nbsp;S.W.2d 519, 522-23 (Tex. Crim. App. 1996).


		The appeal is dismissed.



						__________________________________________

						G. Alan Waldrop, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   June 25, 2009

Do Not Publish


